                                               United States Bankruptcy Court
                                                    District of Oregon
In re:                                                                                                     Case No. 15-35133-rld
Elbert G Garboden                                                                                          Chapter 7
Sherry L Garboden
         Debtors
                                                 CERTIFICATE OF NOTICE
District/off: 0979-3                  User: Admin.                       Page 1 of 1                          Date Rcvd: Feb 08, 2016
                                      Form ID: OFT                       Total Noticed: 22

Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Feb 10, 2016.
db/jdb         +Elbert G Garboden,    Sherry L Garboden,    12054 Chapin Court,   Oregon City, OR 97045-3989
smg            +Dept of Justice,    Division of Child Support,    Attn: Bankruptcy Unit,    POB 14670,
                 Salem, OR 97309-5013
smg            +US Attorney General,    Department of Justice,    10th & Constitution NW,
                 Washington, DC 20530-0001
cr             +CitiMortgage, Inc.,    C/O ALDRIDGE PITE, LLP,    4375 Jutland Drive, Suite 200,
                 P.O. Box 17933,     San Diego, CA 92177-7921
101096470       Home Depot Credit Services,    PO Box 78011,    Phoenix, AZ 85062-8011
101096474      +OnPoint Credit Union,    PO Box 3750,    Portland, OR 97208-3750

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
tr             +EDI: QAEMITCHELL.COM Feb 09 2016 00:28:00       Amy E Mitchell,   POB 2289,
                 Lake Oswego, OR 97035-0074
smg             EDI: ORREV.COM Feb 09 2016 00:28:00      ODR Bkcy,    955 Center NE #353,    Salem, OR 97301-2555
smg            +E-mail/Text: usaor.bankruptcy@usdoj.gov Feb 09 2016 00:33:07       US Attorney,    US Attorney,
                 1000 SW 3rd Ave #600,    Portland, OR 97204-2936
cr             +E-mail/Text: ZyCredit.A.User@lesschwab.com Feb 09 2016 00:32:56
                 Les Schwab Tire Centers of Portland Inc,     POB 5350,   Bend, OR 97708-5350
cr             +EDI: WFFC.COM Feb 09 2016 00:28:00      Wells Fargo Dealer Services,     P.O. Box 3569,
                 Rancho Cucamonga, CA 91729-3569
101096466       EDI: BANKAMER.COM Feb 09 2016 00:28:00      Bank of America,    PO Box 851001,
                 Dallas, TX 75285-1001
101096465       EDI: BANKAMER.COM Feb 09 2016 00:28:00      Bank of America,    PO Box 650070,
                 Dallas, TX 75265-0070
101096467       EDI: RMSC.COM Feb 09 2016 00:28:00      Chevron/Synchrony Bank,    PO Box 530950,
                 Atlanta, GA 30353-0950
101096468       EDI: CIAC.COM Feb 09 2016 00:28:00      Citi Mortgage,    PO Box 689196,
                 Des Moines, IA 50368-9196
101096469       EDI: CRFRSTNA.COM Feb 09 2016 00:28:00      Firestone/Credit First NA,     PO Box 81344,
                 Cleveland, OH 44188-0344
101096471       EDI: IRS.COM Feb 09 2016 00:28:00      Internal Revenue Service,    PO Box 7346,
                 Philadelphia, PA 19101-7346
101096472      +E-mail/Text: ZyCredit.A.User@lesschwab.com Feb 09 2016 00:32:56       Les Schwab,    PO Box 5350,
                 Bend, OR 97708-5350
101096473      +EDI: ORREV.COM Feb 09 2016 00:28:00      ODR,    955 Center Street, NE Room 353,
                 Attn: Bankruptcy Unit,    Salem, OR 97301-2555
101096475       EDI: RMSC.COM Feb 09 2016 00:28:00      Phillips 66 Co/SYNCB,    PO Box 530942,
                 Atlanta, GA 30353-0942
101096476       EDI: WFFC.COM Feb 09 2016 00:28:00      Wells Fargo Card Services,    PO Box 30086,
                 Los Angeles, CA 90030-0086
101096477       EDI: WFFC.COM Feb 09 2016 00:28:00      Wells Fargo Dealer Services,     PO Box 25341,
                 Santa Ana, CA 92799-5341
                                                                                               TOTAL: 16

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.
Date: Feb 10, 2016                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on February 8, 2016 at the address(es) listed below:
NONE.                                                                                       TOTAL: 0




                                      Case 15-35133-rld7              Doc 22       Filed 02/10/16
OFT (10/31/15)                    UNITED STATES BANKRUPTCY COURT                     U.S. BANKRUPTCY COURT
                                           District of Oregon                         DISTRICT OF OREGON
                                                                                              FILED
In re                                             )
 Elbert G Garboden                                ) Case No. 15−35133−rld7                February 8, 2016
 Sherry L Garboden                                )                                  Clerk, U.S. Bankruptcy Court
Debtor(s)                                         )
                                                  ) ORDER AND NOTICE                          BY DEPUTY
                                                  ) OF TIME TO FILE CLAIMS
                                                  )
                                                  )


The trustee anticipates receiving funds which may be sufficient to pay a dividend to creditors, therefore,

IT IS ORDERED AND NOTICE IS GIVEN that:

1. The deadline to file a Proof of Claim is 5/10/16 for all creditors, except for governmental units for which
   a later deadline may apply; see Fed. Rule Bankr. Proc. 3002(c)(1). Your claim must be received by the
   bankruptcy clerk's office by this deadline.

2. Any surplus of funds remaining after payment of filed claims will be returned to the debtor(s).

                                                                                Clerk, U.S. Bankruptcy Court

TO FILE A CLAIM:

(a) File a proof of claim at www.orb.uscourts.gov. Select Proof of Claim (ePOC) and follow the steps to
    create and electronically file a proof of claim on the required form. No login/password is required.

(b) If you have already filed a claim in this case, do not file it again.

(c) If you do not have internet access, please call the court at 503−326−1500 or 541−431−4000 to
    request a claim form.




                             Case 15-35133-rld7         Doc 22      Filed 02/10/16
